Case 9:12-mc-80546-KAM  DocumentDoc
             Case 10-02976-PGH   1 Entered on FLSD
                                    360 Filed       Docket
                                               04/30/12    05/18/2012
                                                        Page   1 of 14 Page 1 of 14



                                UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                      West Palm Beach Division
                                        www.flsb.uscourts.gov

  In re:                                                                    CASE NO. 08-29769-PGH
  GINN-LA ST. LUCIE LTD., LLLP, et al.,                                     All Cases Jointly Administered

                    Debtors.                                                Chapter 7
  _______________________________________/
                                                                            (4 Cases Substantively Consolidated Under
  In re:                                                                    Lead Case No. 08-29769-PGH)1/
  GINN-LA QUAIL WEST LTD., LLLP, et al.,
                                                                            (3 Cases Substantively Consolidated Under
                    Debtors.                                                Lead Case No. 08-29774-PGH)2/
  _______________________________________/

  DREW M. DILLWORTH, Chapter 7 Trustee,                                     ADV. PRO. NO. 10-02976-PGH

                             Plaintiff,

           vs.

  EDWARD R. GINN, III, et al.,

                    Defendants.
  _______________________________________/

                              PLAINTIFF’S MOTION TO WITHDRAW
                            REFERENCE OF ADVERSARY PROCEEDING

           Plaintiff, Drew M. Dillworth (“Trustee Dillworth”), in his capacity as Chapter 7 Trustee for

  the Tesoro and Quail West Debtors’ Estates, by and through undersigned counsel, files this Motion

  to Withdraw Reference of Adversary Proceeding (“Motion”) seeking an Order pursuant to 28 U.S.C.


           1/
            The “Tesoro Debtors’ Estates” (Nos. 08-29769-PGH, 08-29770-PGH, 08-29772-PGH, and 08-29773-PGH)
  are substantively consolidated into Lead Case No. 08-29769-PGH. See Order [D.E. 308/309]. The “Tesoro Debtors,”
  and the last four digits of their respective tax identification numbers, are: (i) Ginn-LA St. Lucie Ltd., LLLP – 5632;
   (ii) Ginn-St Lucie GP, LLC – 0983; (iii) Tesoro Golf Club Condo., LLC – 4385; and (iv) The Tesoro Club, LLC –
  1917. See 11 U.S.C. § 342(c)(1).

           2/
            The “Quail West Debtors’ Estates” (Nos. 08-29774-PGH, 08-29775-PGH, and 08-29776-PGH) are
  substantively consolidated into Lead Case No. 08-29774-PGH. See Order [D.E. 34]. The “Quail West
   Debtors,” and the last four digits of their respective tax identification numbers, are: (i) Ginn-LA Quail West Ltd.,
  LLLP – 2397; (ii) Ginn-Quail West Beach, LLC – 9142; and (iii) Ginn-Quail West GP, LLC – 6313. See 11 U.S.C.
  § 342(c)(1).


                        S TE ARNS   WE AV E R   MILLER   WEISSLER   ALHADE FF   &   SITTERSON,   P .A.
          M US E UM TOWE R, 150 WE S T FLAGLE R S TRE E T, M IAM I, FLORIDA 33130     @   TELEPHONE (305) 789-3200
Case 9:12-mc-80546-KAM  DocumentDoc
             Case 10-02976-PGH   1 Entered on FLSD
                                    360 Filed       Docket
                                               04/30/12    05/18/2012
                                                        Page   2 of 14 Page 2 of 14



  § 157(d) and (e), Rule 5011(a), Federal Rules of Bankruptcy Procedure (“Bankruptcy Rules”) and

  Local Rule 5011-1 of the Local Rules of the United States Bankruptcy Court, Southern District of

  Florida (“Local Rules”) withdrawing the reference of this adversary proceeding (“Adversary

  Proceeding”) to the United States District Court for the Southern District of Florida (the “District

  Court”) for case dispositive motions and jury trial. In support thereof, Trustee Dillworth

  respectfully states as follows:

                                                  BACKGROUND

          1.      Trustee Dillworth is the duly appointed, qualified, and acting Chapter 7 Trustee for

  the Tesoro Debtors’ Estates and the Quail West Debtors’ Estates.

          2.      On July 1, 2011, Trustee Dillworth filed his Fourth Amended Complaint (“FAC”)

  [ECF No. 268] seeking (a) to avoid and recover for fraudulent transfers of Tesoro Debtor property

  and Quail West Debtor property; and (b) to recover monetary damages for breaches of fiduciary

  duties owed the Tesoro and Quail West Debtors pursuant to Georgia state common law in connection

  with the same conduct and transactions.

          3.      On November 15, 2011, this Court entered a lengthy Order [ECF No. 334]

  granting the Ginn and Lubert-Adler Defendants’ Motions to Dismiss Fourth Amended Complaint as

  to Counts I - VI, i.e., the claims to avoid and recover for fraudulent transfers of Debtor property, but

  denying the Motions to Dismiss as to Counts VII and VIII – the state law tort claims seeking

  monetary damages for breaches of fiduciary duties owed the Debtors (“Fiduciary Duty Claims”).

          4.      Trustee Dillworth alleges in FAC ¶ 25 that the Fiduciary Duty Claims are

  “non-core” proceedings based solely on state common law, which are subject to the limitations of 28

  U.S.C. § 157(c)(1).




                                                            -2-
                       S TE ARNS   WE AV E R   MILLER   WEISSLER   ALHADE FF   &   SITTERSON,   P .A.
         M US E UM TOWE R, 150 WE S T FLAGLE R S TRE E T, M IAM I, FLORIDA 33130     @   TELEPHONE (305) 789-3200
Case 9:12-mc-80546-KAM  DocumentDoc
             Case 10-02976-PGH   1 Entered on FLSD
                                    360 Filed       Docket
                                               04/30/12    05/18/2012
                                                        Page   3 of 14 Page 3 of 14



         5.       On December 21, 2011, the Ginn Defendants and Lubert-Adler Defendants named as

  Defendants in FAC Counts VII and VIII (collectively, the “Fiduciary Defendants”) each filed

  Answers and Affirmative Defenses to the FAC [ECF Nos. 340 and 341]; and on February 17, 2012,

  the Fiduciary Defendants each filed Amended Answers and Affirmative Defenses to the FAC

  (“Amended Answers”) [ECF No. 357 and 358].

         6.       The Ginn Fiduciary Defendants admitted in their Amended Answer to FAC ¶ 25 that

  the Fiduciary Duty Claims are “non-core” proceedings [ECF No. 357].

         7.       The Lubert-Adler Fiduciary Defendants, in turn, stated in their Amended Answer that

  the FAC ¶ 25 contained conclusions of law to which no response is required [ECF No. 358].

         8.       On January 3, 2012, Trustee Dillworth timely filed Plaintiff’s Demand for Jury Trial

  (“Demand for Jury Trial”) [ECF No. 342] demanding a jury trial in this Adversary Proceeding

  pursuant to Federal Rule of Civil Procedure 38(d) and Bankruptcy Rule 9015(a). The Fiduciary

  Defendants did not object or otherwise respond to the Demand for Jury Trial.

         9.       The parties have not consented to the Bankruptcy Court deciding case dispositive

  motions, such as motions for summary judgment, or to the Bankruptcy Court conducting the jury trial

  required in this Adversary Proceeding.

         10.      On January 9, 2012, the Court entered a Second Amended Case Management and

  Scheduling Order [ECF No. 344] (“Case Management Order”) which includes a briefing and

  deadline schedule for this Adversary Proceeding that is agreed to by all parties. Pursuant to the Case

  Management Order, the deadline to file a motion to withdraw the reference is April 30, 2012.

  Accordingly, this Motion is timely filed.

         11.      The deadline to file proofs of claim against the Debtors’ estates was April 30, 2009

  [Case No. 08-29769-PGH, ECF No. 10].

         12.      At no time did any of the Fiduciary Defendants file a proof of claim against the

  Debtors’ estates or otherwise submit themselves to the equitable jurisdiction of this Court.


                                                            -3-
                       S TE ARNS   WE AV E R   MILLER   WEISSLER   ALHADE FF   &   SITTERSON,   P .A.
         M US E UM TOWE R, 150 WE S T FLAGLE R S TRE E T, M IAM I, FLORIDA 33130     @   TELEPHONE (305) 789-3200
Case 9:12-mc-80546-KAM  DocumentDoc
             Case 10-02976-PGH   1 Entered on FLSD
                                    360 Filed       Docket
                                               04/30/12    05/18/2012
                                                        Page   4 of 14 Page 4 of 14



                                                     ARGUMENT

          13.      Federal District Courts have original jurisdiction in all civil proceedings “arising

  under,” “arising in” or “related to” cases under Title 11, 28 U.S.C. § 1334(b), but they may refer

  cases and proceedings arising under title 11 to the bankruptcy courts. 28 U.S.C. § 157(a). Pursuant

  to that authority, the District Court in this district maintains a standing order automatically referring

  bankruptcy cases to the bankruptcy court.3/ The District Court, however, possesses broad powers

  under 28 U.S.C. § 157(d) to withdraw any case, in whole or in part, from a bankruptcy court on its

  own motion or on timely motion of any party, “for cause shown.” 28 U.S.C. § 157(d).

          14.      Further, pursuant to 28 U.S.C. §157(e), the bankruptcy court may only conduct a jury

  trial “if specially designated to exercise such jurisdiction by the district court and with the express

  consent of all the parties.”

          15.      Trustee Dillworth submits that cause exists to withdraw the reference of this

  Adversary Proceeding because (i) the Fiduciary Duty Claims are state common law tort claims

  seeking monetary damages which are “non-core” claims under 28 U.S.C. §157(d); (ii) Trustee

  Dillworth is entitled to a jury trial of the Fiduciary Duty Claims and he does not consent to the

  Bankruptcy Court conducting the jury trial as required by 28 U.S.C. § 157(e); (iii) under the

  principles set forth in Stern v. Marshall, 131 S.Ct. 2594, 2608 (2011), the Bankruptcy Court lacks

  constitutional authority to enter a final order adjudicating state common law claims against non-

  debtor third parties such as the Fiduciary Defendants; and (iv) having the trial conducted by the

  District Court will streamline the appellate process and promote judicial economy.




          3/
            See Administrative Order 2012-25, Order of Reference, United States District Court, Southern District of
  Florida (03-21-2012).

                                                             -4-
                        S TE ARNS   WE AV E R   MILLER   WEISSLER   ALHADE FF   &   SITTERSON,   P .A.
          M US E UM TOWE R, 150 WE S T FLAGLE R S TRE E T, M IAM I, FLORIDA 33130     @   TELEPHONE (305) 789-3200
Case 9:12-mc-80546-KAM  DocumentDoc
             Case 10-02976-PGH   1 Entered on FLSD
                                    360 Filed       Docket
                                               04/30/12    05/18/2012
                                                        Page   5 of 14 Page 5 of 14



          A.      The Reference Should Be Withdrawn Because the Fiduciary Duty Claims
                  are State Common Law Tort Claims which are “Non-Core” Claims
                  Under 28 U.S.C. §157(d)

          16.     A key question for this Court in determining whether to withdraw the reference of all

  or part of a bankruptcy proceeding “for cause” is whether the bankruptcy court has authority to act

  upon the relief requested. In Orion Pictures Corp. v. Showtime Networks (In re Orion Pictures

  Corp.), 4 F.3d 1095 (2d Cir. 1993), the court explained that in “considering whether to withdraw

  the reference [courts] should first evaluate whether the claim is core or non-core, since it is upon this

  issue that questions of efficiency and uniformity will turn.” Id. at 1101; see also Control Ctr. L.L.C.

  v. Lauer, 228 B.R. at 275 (M.D. Fla. 2002) (the speed and efficiency associated with proceeding

  directly in the District Court often leads courts to find that “a determination that a proceeding is non-

  core weighs in favor of transferring the mater to a district court”). In other words, if a bankruptcy

  court lacks authority to resolve the claims presented to it there is presumptively “cause” to withdraw

  the reference under 28 U.S.C. § 157(d).

          17.     Before Stern, the answer to the threshold inquiry could be found in the statutory

  distinction between “core” and “non-core” proceedings, as 28 U.S.C. § 157(b) permits the

  bankruptcy courts to enter final orders in statutorily enumerated “core” matters, but not in “non-core”

  matters, which the bankruptcy court may hear, but may only submit proposed findings of fact and

  conclusions of law to the district court for de novo review. See 28 U.S.C. § 157(c)(1); In re Electric

  Machinery Enterprises, Inc., 479 F.3d 791 (11th Cir. 2007) (holding bankruptcy courts lack authority

  to issue orders affecting non-core claims). After Stern, however, the power of a bankruptcy court

  to enter a final order is determined by constitutional considerations, as discussed below, in addition

  to the statutory definition of “core” proceedings.




                                                            -5-
                       S TE ARNS   WE AV E R   MILLER   WEISSLER   ALHADE FF   &   SITTERSON,   P .A.
         M US E UM TOWE R, 150 WE S T FLAGLE R S TRE E T, M IAM I, FLORIDA 33130     @   TELEPHONE (305) 789-3200
Case 9:12-mc-80546-KAM  DocumentDoc
             Case 10-02976-PGH   1 Entered on FLSD
                                    360 Filed       Docket
                                               04/30/12    05/18/2012
                                                        Page   6 of 14 Page 6 of 14



         18.      In the Eleventh Circuit (and prior to Stern), the standard to withdraw the reference

  “for cause” requires consideration of the following factors:

                  [W]hen making a determination of whether sufficient cause exists, a
                  district court should consider the advancement of uniformity in
                  bankruptcy administration, decreasing forum shopping and confusion,
                  promoting the economical use of the parties’ resources, and
                  facilitating the bankruptcy process. Additional factors include: (1)
                  whether the claim is core or non-core; (2) efficient use of judicial
                  resources; (3) a jury demand; and (4) prevention of delay. While
                  important, none of the aforementioned factors should prevent a
                  district court from properly withdrawing reference either to ensure
                  that the judicial power of the United States is exercised by an Article
                  III court or in order to fulfill its supervisor function over the
                  bankruptcy courts.


  Control Center, L.L.C. v. Lauer, 288 B.R. 269, 272 (M.D. Fla. 2002) (internal quotations and

  citations omitted). Here, Trustee Dillworth’s Fiduciary Duty Claims are clearly “non-core,” and he

  has made a demand for jury trial on such claims.

         19.      The ultimate determination of Trustee Dillworth’s Fiduciary Duty Claims will not

  involve substantive bankruptcy rights, and, therefore, the claims do not arise under title 11 and are

  not “core” proceedings. Trustee Dillworth’s breach of Fiduciary Duty Claims arise solely under state

  common law. Similarly, Trustee Dillworth’s claims are neither unique to bankruptcy nor uniquely

  affect the Debtors’ bankruptcy cases. The Adversary Proceeding is not, therefore, the type of

  proceeding that could only arise in the context of a bankruptcy case.

         20.      Moreover, a non-core proceeding is not transformed into a core proceeding simply

  because the proceeding may be the estate’s sole asset or its sole hope for distribution to creditors.

  As the Second Circuit Court of Appeals has recognized, even if “the outcome [of the adversary

  proceeding] could determine [the debtor’s] continued viability as an enterprise,” finding that a

  proceeding is core merely because it involves property of the estate would “create an exception . .


                                                            -6-
                       S TE ARNS   WE AV E R   MILLER   WEISSLER   ALHADE FF   &   SITTERSON,   P .A.
         M US E UM TOWE R, 150 WE S T FLAGLE R S TRE E T, M IAM I, FLORIDA 33130     @   TELEPHONE (305) 789-3200
Case 9:12-mc-80546-KAM  DocumentDoc
             Case 10-02976-PGH   1 Entered on FLSD
                                    360 Filed       Docket
                                               04/30/12    05/18/2012
                                                        Page   7 of 14 Page 7 of 14



  . that would swallow the rule.” Orion Pictures Corp. v. Showtime Networks, Inc. (In re Orion), 4

  F.3d 1095, 1102 (2d Cir. 1993). See also In re Shafer & Miller Indus., Inc., 66 B.R. at 580 (“[A]

  state-created right to recover damages for breach of contract, even though such damages would

  ultimately enhance the debtor’s estate, [does] not transform what is essentially a private right into a

  public right.”). Any contrary result would eviscerate the principle of core and non-core as almost

  every proceeding in which a debtor sought money damages would have an effect on the estate. See

  In re Marill Alarm Sys., 81 B.R. 119, 123 n.8 (S.D. Fla. 1987) (“If this Court conferred core

  jurisdiction on that basis [that the debtor’s claim affects the liquidation of the assets of the estate],

  virtually any claim which could increase the assets in the estate would entitle the bankruptcy court

  to ignore the constitutional proscription set forth in Marathon. This Court will not interpret section

  157 so broadly.”). Here, the Fiduciary Duty Claims have their origin in the common law, have

  nothing to do with the Bankruptcy Code, and are “non-core” claims which can only be finally

  adjudicated by the District Court.

          B.      The Reference Should Also Be Withdrawn Because Trustee Dillworth
                  is Entitled to a Jury Trial and The Parties Have Not Consented to
                  the Bankruptcy Court Conducting the Jury Trial as Required by
                  28 U.S.C. § 157(e)

          21.     Under 28 U.S.C. § 157, “[i]f the right to a jury trial applies in a proceeding that may

  be heard under this section by a bankruptcy judge, the bankruptcy judge may conduct the jury trial

  if specially designated to exercise such jurisdiction by the district court and with the express consent

  of the parties.” 28 U.S.C. § 157(e).

          22.     The District Courts in Florida have uniformly applied the plain meaning of 28 U.S.C.

  § 157(e) to withdraw the reference to provide litigants the right to a jury trial in the District Court,

  rather than in the Bankruptcy Court. See Frank v. Lake Worth, 2011 WL 260068 (S.D. Fla. June 30,

  2011) (noting the statutory provision); In re Gunallen Financial, Inc., 2011 WL 398054 (M.D. Fla.

                                                            -7-
                       S TE ARNS   WE AV E R   MILLER   WEISSLER   ALHADE FF   &   SITTERSON,   P .A.
         M US E UM TOWE R, 150 WE S T FLAGLE R S TRE E T, M IAM I, FLORIDA 33130     @   TELEPHONE (305) 789-3200
Case 9:12-mc-80546-KAM  DocumentDoc
             Case 10-02976-PGH   1 Entered on FLSD
                                    360 Filed       Docket
                                               04/30/12    05/18/2012
                                                        Page   8 of 14 Page 8 of 14



  Feb. 3, 2011); In re Stone, 2010 WL 5069698 (M.D. Fla. Dec. 7, 2010); Control Center, L.L.C. v.

  Lauer, 288 B.R. 269 (M.D. Fla. 2002); see also In re EZ Pay Services, Inc., 389 B.R. 278 (Bankr.

  M.D. Fla. 2008).

          23.     Here, Trustee Dillworth has a Seventh Amendment right to a jury trial which he timely

  asserted, and the parties have not consented to the jury trial being conducted by the Bankruptcy

  Court. See Granfinanciera, S.A. v. Nordberg, 492 U.S. 33, 58-59 (1989).

          24.     Therefore, under 28 U.S.C. § 157(e), the Fiduciary Duty Claims must be tried by

  the District Court.

          C.      The Reference Should be Withdrawn Because the Bankruptcy Court
                  Lacks Constitutional Authority to Adjudicate the Fiduciary Duty Claims
                  in this Adversary Proceeding

          25.     In Stern, the Supreme Court recognized that § 157(b)(2) provided express statutory

  authority for the bankruptcy court to enter a final judgment on a state law counterclaim, but held that

  Article III of the Constitution did not so allow. Stern, 131 St. Ct. At 2608. The Court noted that

  “when a suit is made of ‘the stuff of the traditional actions at common law tried by the courts at

  Westminster in 1789,’ and is brought within the bounds of federal jurisdiction, the responsibility for

  deciding that suit rests with Article III judges in Article III courts.” Id. At 2609 (quoting Northern

  Pipeline Constr. Co. v. Marathon Pipe Line Co., 458 U.S. 50, 90 (1982)) (emphasis added). The

  Supreme Court specifically discussed the impact of its ruling on fraudulent transfer claims holding

  that “fraudulent conveyance suits were ‘quintessentially suits at common law that more nearly

  resemble state law contract claims brought by a bankruptcy corporation to augment the bankruptcy

  estate than they do creditors’ hierarchically ordered claims to a pro rata share of the bankruptcy res.’”

  Id. (Quoting Granfinanciera, S.A. v. Nordberg, 492 U.S. 33, 56 (1989))(emphasis added). As a




                                                             -8-
                        S TE ARNS   WE AV E R   MILLER   WEISSLER   ALHADE FF   &   SITTERSON,   P .A.
         M US E UM TOWE R, 150 WE S T FLAGLE R S TRE E T, M IAM I, FLORIDA 33130      @   TELEPHONE (305) 789-3200
Case 9:12-mc-80546-KAM  DocumentDoc
             Case 10-02976-PGH   1 Entered on FLSD
                                    360 Filed       Docket
                                               04/30/12    05/18/2012
                                                        Page   9 of 14 Page 9 of 14



  result, “Congress could not constitutionally assign resolution of the fraudulent conveyance action to

  a non-Article III court.” Id. At 2614, n. 7 (citing Granfinanciera, 492 U.S. at 56, n. 11).

           26.      Indeed, the Supreme Court clearly reiterated in Stern that a fraudulent transfer action

  by a bankruptcy trustee against a defendant who has not filed a proof of claim in the bankruptcy case

  – like the defendant in Granfinanciera or the Fiduciary Defendants in this case – is akin to a common

  law contract action that involves a “private right” requiring adjudication by an Article III court. In

  the absence of any such proof of claim, there is simply no way to characterize adjudication of the

  Fiduciary Duty Claims raised here as integral to the restructuring of the debtor-creditor relationship

  or as resolved through the claims allowance process, which may be determined by a non-Article III

  court as involving “public rights.” Stern, supra at 2611.4/ In Stern, the Supreme Court summarized

  the importance of Article III courts conducting jury trials as follows:

                    Article III could neither serve its purpose in the system of checks and
                    balances nor preserve the integrity of judicial decision making if the
                    other branches of the Federal Government could confer the
                    Government's “judicial Power” on entities outside Article III. That is
                    why we have long recognized that, in general, Congress may not
                    “withdraw from judicial cognizance any matter which, from its nature,
                    is the subject of a suit at the common law, or in equity, or admiralty.”
                    Murray's Lessee v. Hoboken Land & Improvement Co., 59 U.S. 272,
                    18 How. 272, 284, 15 L.Ed. 372 (1856). When a suit is made of “the
                    stuff of the traditional actions at common law tried by the courts at
                    Westminster in 1789,” Northern Pipeline, 458 U.S., at 90, 102 S.Ct.
                    2858 (Rehnquist, J., concurring in judgment), and is brought within
                    the bounds of federal jurisdiction, the responsibility for deciding that
                    suit rests with Article III judges in Article III courts. The Constitution
                    assigns that job—resolution of “the mundane as well as the
                    glamorous, matters of common law and statute as well as
                    constitutional law, issues of fact as well as issues of law”—to the
                    Judiciary. Id., at 86-87, n. 39, 102 S.Ct. 2858 (plurality opinion).


           4/
            The absence of any proof of claim is a key distinguishing factor from the situations in Katchen v. Landy, 382
  U.S. 323 (1966) and Langenkamp v. Culp, 498 U.S. 42 (1990). In those cases the creditor had filed a proof of claim,
  on which it was impossible for the bankruptcy court to rule without also resolving the preference claim brought by the
  estate. Stern, 131 S. Ct. At 2616-17.

                                                             -9-
                        S TE ARNS   WE AV E R   MILLER   WEISSLER   ALHADE FF   &   SITTERSON,   P .A.
          M US E UM TOWE R, 150 WE S T FLAGLE R S TRE E T, M IAM I, FLORIDA 33130     @   TELEPHONE (305) 789-3200
Case 9:12-mc-80546-KAM  DocumentDoc
             Case 10-02976-PGH   1 Entered on FLSD
                                    360 Filed       Docket
                                               04/30/12    05/18/2012
                                                        Page   10 of 14 Page 10 of 14



            27.      The lesson of Stern is therefore simple: a bankruptcy court’s authority to finally

   adjudicate a claim is not determined by reference to the list of core proceedings in 28 U.S.C.

   § 157(b)(2). Rather, a court must analyze whether the claim to be adjudicated involves a “public”

   or “private” right. If the latter, the bankruptcy court cannot exercise final adjudicative authority

   consistent with Article III. All of the Fiduciary Duty Claims asserted by Trustee Dillworth are only

   “private” right claims. Because the Fiduciary Duty Claims concern private rights over which the

   Bankruptcy Court has no authority to enter a final judgment, they must be heard by an Article III

   court.

            D.       The Reference Should Be Withdrawn Because a Jury Trial Conducted
                     by the District Court will Streamline the Appellate Process and it will
                     Promote Judicial Economy

            28.      Conducting the trial of the Fiduciary Duty Claims in the District Court will streamline

   the appellate process and promote judicial economy. The Adversary Proceeding will involve

   extensive discovery, expert testimony, and a lengthy and complex jury trial. Further, in light of the

   tens of millions of dollars at issue in this Adversary Proceeding, the losing party will almost certainly

   pursue its appellate rights. If the Bankruptcy Court conducts the trial and, pursuant to the District

   Court’s Order of Reference, issues proposed findings of fact and conclusions of law, there would be

   effectively a two-stage appellate process – first to the District Court for a de novo review of the

   Bankruptcy Court’s findings and conclusions; and second, an appeal to the Eleventh Circuit Court

   of Appeals. Conversely, if the District Court conducts the trial, there will be only one direct appeal

   to the Eleventh Circuit Court of Appeals. Accordingly, the reference of this Adversary Proceeding

   should be withdrawn to the District Court for trial and for any case dispositive motions.




                                                              -10-
                          S TE ARNS   WE AV E R   MILLER   WEISSLER   ALHADE FF   &   SITTERSON,   P .A.
            M US E UM TOWE R, 150 WE S T FLAGLE R S TRE E T, M IAM I, FLORIDA 33130     @   TELEPHONE (305) 789-3200
Case 9:12-mc-80546-KAM  DocumentDoc
             Case 10-02976-PGH   1 Entered on FLSD
                                    360 Filed       Docket
                                               04/30/12    05/18/2012
                                                        Page   11 of 14 Page 11 of 14



                                          DESIGNATION OF RECORD

           29.     Pursuant to Local Rule 5011-1(B)(1), Trustee Dillworth designates the following

   portions of the record that are necessary or pertinent to the District Court’s consideration of this

   Motion:


                         ECF No.
       Date              (Adv. No.                                          Document
                      10-02976-PGH)

    07/01/2011              268                 Fourth Amended Complaint
    11/15/2011              334                 Order: 1) Granting the Major University Defendants’
                                                Motion to Dismiss and the Investor Defendants’ Motion to
                                                Dismiss; and 2) Granting-in-Part and Denying-in-Part the
                                                Lubert-Adler Motion to Dismiss and the Ginn Motion to
                                                Dismiss
    01/03/2012              342                 Plaintiff’s Demand for Jury Trial
    01/09/2012              344                 Second Amended Case Management and Scheduling Order
    02/17/2012              357                 Amended Answer and Affirmative Defenses to Fourth
                                                Amended Complaint (filed by the Ginn Defendants)
    02/17/2012              358                 Amended Answer and Affirmative Defenses to Fourth
                                                Amended Complaint (filed by Lubert-Adler Defendants)

                                                    CONCLUSION

           WHEREFORE, Trustee Dillworth respectfully requests the Court to enter an Order, (a)

   granting this Motion; (b) withdrawing the reference of this Adversary Proceeding to the District

   Court for jury trial and all case dispositive motions; and (c) granting such further relief as the Court

   deems proper.




                                                            -11-
                        S TE ARNS   WE AV E R   MILLER   WEISSLER   ALHADE FF   &   SITTERSON,   P .A.
          M US E UM TOWE R, 150 WE S T FLAGLE R S TRE E T, M IAM I, FLORIDA 33130     @   TELEPHONE (305) 789-3200
Case 9:12-mc-80546-KAM  DocumentDoc
             Case 10-02976-PGH   1 Entered on FLSD
                                    360 Filed       Docket
                                               04/30/12    05/18/2012
                                                        Page   12 of 14 Page 12 of 14




   Dated: April 30, 2012

                                                          Respectfully submitted,

                                                          STEARNS WEAVER MILLER WEISSLER
                                                           ALHADEFF & SITTERSON, P.A.

                                                          Attorneys for Drew M. Dillworth,
                                                          Chapter 7 Trustee of the Tesoro Debtors’ Estates
                                                          and the Quail West Debtors’ Estates

                                                          Museum Tower, Suite 2200
                                                          150 West Flagler Street
                                                          Miami, Florida 33130
                                                          Telephone: (305) 789-3200
                                                          Facsimile: (305) 789-3395

                                                          I hereby certify that I am admitted to the Bar of
                                                          the United States District Court for the Southern District
                                                          of Florida and I am in compliance with the additional
                                                          qualifications to practice in this Court set forth in
                                                          Local Rule 2090-1(A).



                                                          By: /s/ Harold D. Moorefield, Jr.
                                                                  EUGENE E. STEARNS
                                                                  Fla. Bar No. 149335
                                                                  estearns@stearnsweaver.com
                                                                  HAROLD D. MOOREFIELD, JR.
                                                                  Fla. Bar No. 239291
                                                                  hmoorefield@stearnsweaver.com
                                                                  MATTHEW W. BUTTRICK
                                                                  Fla. Bar No. 176028
                                                                  mbuttrick@stearnsweaver.com
                                                                  ANDREW E. STEARNS
                                                                  Fla. Bar No. 661651
                                                                  astearns@stearnsweaver.com




                                                            -12-
                       S TE ARNS   WE AV E R   MILLER   WEISSLER   ALHADE FF   &   SITTERSON,   P .A.
         M US E UM TOWE R, 150 WE S T FLAGLE R S TRE E T, M IAM I, FLORIDA 33130     @   TELEPHONE (305) 789-3200
Case 9:12-mc-80546-KAM  DocumentDoc
             Case 10-02976-PGH   1 Entered on FLSD
                                    360 Filed       Docket
                                               04/30/12    05/18/2012
                                                        Page   13 of 14 Page 13 of 14



                                          CERTIFICATE OF SERVICE


          I CERTIFY that on April 30, 2012, a true and correct copy of the foregoing was served as
   follows: (a) by Notice of Electronic Filing (“NEF”) generated by CM/ECF (and by courtesy e-mail
   from undersigned counsel) to the relevant parties registered to receive NEF in this adversary
   proceeding; and (b) by U.S. Mail, postage prepaid, (and by courtesy e-mail from undersigned
   counsel) to those parties not registered to receive NEF in this adversary proceeding, as indicated on
   the attached Service List.

                                                           By: /s/ Harold D. Moorefield, Jr.
                                                                   HAROLD D. MOOREFIELD, JR.
                                                                   Fla. Bar No. 239291
                                                                   hmoorefield@stearnsweaver.com




                                                            -13-
                        S TE ARNS   WE AV E R   MILLER   WEISSLER   ALHADE FF   &   SITTERSON,   P .A.
          M US E UM TOWE R, 150 WE S T FLAGLE R S TRE E T, M IAM I, FLORIDA 33130     @   TELEPHONE (305) 789-3200
Case 9:12-mc-80546-KAM  DocumentDoc
             Case 10-02976-PGH   1 Entered on FLSD
                                    360 Filed       Docket
                                               04/30/12    05/18/2012
                                                        Page   14 of 14 Page 14 of 14



                                         SERVICE LIST

   Served by ECF and Courtesy E-Mail:


   CHARLES W. THROCKMORTON, ESQ.                    PAUL STEVEN SINGERMAN, ESQ
   cwt@kttlaw.com                                   singerman@bergersingerman.com
   lf@kttlaw.com                                    efile@bergersingerman.com
   la@kttlaw.com                                    Counsel for Lubert-Adler Defendants
   Counsel for Ginn Defendants
   LYNN F. CHANDLER, ESQ.                           ROBERT N GILBERT, ESQ.
   JONATHAN P. HEYL, ESQ.                           rgilbert@carltonfields.com
   JEFFREY P. MACHARG, ESQ.                         kdemar@carltonfields.com
   lynn.chandler@smithmoorelaw.com                  Counsel for Credit Suisse
   johanne.bloom@smithmoorelaw.com
   devire.robinson@smithmoorelaw.com
   jeff.macharg@smithmoorelaw.com
   jon.heyl@smithmoorelaw.com
   Counsel for Ginn Defendants



   Served by U.S. Mail, postage prepaid, and Courtesy E-Mail


   WILLIAM A. HARVEY, ESQ.
   wharvey@klehr.com
   RONA J. ROSEN, ESQ.
   rrosen@klehr.com
   KLEHR HARRISON HARVEY BRANZBURG LLP
   1835 Market Street, Suite 1400
   Philadelphia, PA 19103
   Counsel for Lubert-Adler Defendants

   MICHEL O. WEISZ, ESQ.
   mweisz@bergersingerman.com
   BERGER SINGERMAN, P.A.
   200 Biscayne Boulevard, Suite 1000
   Miami, FL 33131
   Counsel for Lubert-Adler Defendants

   SALLY MCDONALD HENRY, ESQ.
   Sally.Henry@Skadden.com
   DONALD D. LEWIS, ESQ.
   Donald.Lewis@Skadden.com
   SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP
   Four Times Square
   New York, NY 10036-6522
   Counsel for Credit Suisse
